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                     IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                 AUGUSTA DIVISION

UNITED STATES OF AMERICA                    )
                                            )
      v.                                    )          CR 122-090
                                            )
LEANN NICOLE FAIRCLOTH                      )
                                       _________

                                       ORDER
                                       _________

      The Court appointed attorney Wendell E. Johnston, Jr. to represent Defendant on

October 28, 2022, pursuant to the Criminal Justice Act (“CJA”). Because Mr. Johnston has a

conflict of interest and is unable to represent Defendant, the Court TERMINATES his

appointment and APPOINTS as substitute counsel, Jon E. Ingram, P.O. Box 2426, Augusta,

Georgia 30903. The government shall turn over all discovery materials to Mr. Ingram upon

receipt of this Order. In addition to serving Mr. Johnston and the government, the Court

DIRECTS the Clerk to serve this Order on Mr. Ingram and Defendant.

      SO ORDERED this 15th day of November, 2022, at Augusta, Georgia.
